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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
Ocala Division

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Case No.:

MARIO E. RIVERO, JR,

Movant,
versus
LPL FINANCIAL LLC,

Respondent.

MOTION TO VACATE ARBITRATION AWARD

COMES NOW, the Movant Mario E. Rivero, proceeding pro se, respectfully submits this Motion
to Vacate the arbitration award issued on November 13, 2024, in FINRA Case No. 23-02354, pursuant to
9 U.S.C. § 10, and in support thereof states as follows:

I. INTRODUCTION

ds Movant seeks to vacate an arbitration award rendered in favor of LPL Financial LLC, (“LPL
Financial”), issued without proper jurisdiction, adequate notice, or an opportunity for Movant to
participate in the arbitration process. Movant never signed a FINRA Submission Agreement or any other
agreement consenting to arbitration. The arbitration was initiated unilaterally by LPL Financial, without
consent, and Movant's counsel abandoned the arbitration at its inception. No effort was made by
Respondent or the arbitration panel to notify Movant directly, depriving him of the opportunity to present
a defense or raise equitable claims. See Exhibit #1.

2. Further, the arbitration panel exceeded its authority under the Federal Arbitration Act
(FAA), 9 U.S.C. § 10, by failing to consider valid defenses such as impossibility of performance and unjust
enrichment, and by enforcing inequitable terms. These deficiencies render the award invalid and
necessitate vacatur to uphold procedural fairness and compliance with statutory mandates.

Il. JURISDICTION AND VENUE

3. This Court has jurisdiction pursuant to 9 U.S.C. § 10 and 28 U.S.C. § 1332, as the parties
are citizens of different states and the amount in controversy exceeds $75,000.

4. Venue is proper in the Middle District of Florida, Ocala Division, pursuant to 28 U.S.C. §
1391(b), because Movant is currently incarcerated at the Federal Correctional Complex (FCC Coleman
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Camp) in Coleman, Florida.* Litigating in the District of New Jersey, where the arbitration occurred, would
impose undue hardship on Movant.

Ill. FACTUAL BACKGROUND

5. On or about October 1, 2020, Movant executed a promissory note with LPL Financial LLC
for a principal amount of $161,598, with a provision for loan forgiveness contingent upon Movant's
continued registration with LPL over a five-year period.

6. Movant never signed a FINRA Submission Agreement or any arbitration agreement
consenting to arbitrate disputes with LPL Financial.

7. Due to the COVID-19 pandemic, LPL delayed Movant’s onboarding, preventing him from
commencing work until May 2021. This delay reduced the time available to meet the loan forgiveness
terms.

8. Shortly after beginning his affiliation with LPL, Movant faced allegations involving
transactions that occurred during his prior employment at Wells Fargo Bank. These allegations were
unrelated to his work with LPL.?

9. On June 4, 2021, Movant accepted a plea agreement and was subsequently barred by
FINRA from continuing as a registered representative. As a result, Movant's affiliation with LPL was
terminated on May 12, 2021, constituting an Event of Default under the promissory note and triggering
loan acceleration.

10. Movant's original counsel failed to participate meaningfully in the arbitration process and
abandoned the matter entirely at its inception. Movant was unaware of this abandonment and believed
his interests were being represented.

11. LPL initiated arbitration proceedings with FINRA on or about August 28, 2023, seeking
recovery of the outstanding loan balance and related fees. Despite Movant’s lack of representation, LPL
Financial and the FINRA arbitration panel failed to notify Movant directly of the proceedings.

12. Movant only became aware of the arbitration process when he received copies of the
final award documents on or around the date the award was issued, November 13, 2024. By that time, it
was impossible for him to defend himself or participate in the arbitration process.

13. The FINRA arbitration panel issued an award in favor of LPL, ordering Movant to pay
$287,994.21, including principal, interest, attorney fees, and costs.

IV. LEGAL STANDARD

14. Under 9 U.S.C. § 10, an arbitration award may be vacated on the following grounds:

1 See https://www.bop.gov/mobile/find inmate/byname.jsp .

See U.S.D.C. NJ, United States v. Mario E. Rivero, Jr., 2:23-CR-00088-MCA-1.

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(1) Corruption, Fraud, or Undue Means: If the award was procured by corruption, fraud, or
undue means;

(2) Evident Partiality or Corruption: If the arbitrators demonstrated evident partiality or
corruption;

(3) Misconduct or Denial of Due Process: If the arbitrators were guilty of misconduct, such as
refusing to hear material evidence or denying a party due process; and

(4) Exceeding Authority: If the arbitrators exceeded their powers or rendered a decision outside
the scope of the arbitration agreement.

V. ARGUMENT
A. THE ARBITRATION PANEL LACKED JURISDICTION

15. Arbitration is governed by consent. It cannot be imposed unilaterally. The Supreme Court
has repeatedly held that arbitration requires mutual agreement between the parties. As stated in First
Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995): “[A] party cannot be required to submit to
arbitration any dispute which he has not agreed so to submit.” \d.

16. Movant never signed a FINRA Submission Agreement or any other agreement to arbitrate
disputes with LPL Financial. Without evidence of Movant’s consent, the arbitration panel lacked
jurisdiction to adjudicate the dispute. This principle was reinforced in Granite Rock Co. v. Int'l Bhd. of
Teamsters, 561 U.S. 287, 299 (2010), where the Court held: “It is for courts to decide whether the parties
have agreed to arbitrate in the first instance.” \d.

17. By proceeding without a valid arbitration agreement, the panel acted beyond its
authority, rendering the award unenforceable.

B. PROCEDURAL IRREGULARITIES DENIED MOVANT DUE PROCESS
18. The arbitration process was marred by procedural defects, including:

(1) Failure to Notify Movant: Movant was never informed of the arbitration
proceedings after his counsel abandoned the matter; and

(2) Lack of Opportunity to Defend: Movant became aware of the arbitration only
after receiving the final award.

19. Under 9 U.S.C. § 10(a)(3), vacatur is warranted when a party is denied a fair opportunity
to present their case. As the Second Circuit explained in Tempo Shain Corp. v. Bertek, Inc., 120 F.3d 16,
20 (2d Cir. 1997): “An arbitrator’s refusal to hear material evidence... or provide a fair opportunity to
present a case constitutes misconduct.” |d.

20. Here, the abandonment by counsel, compounded by Respondent and the panel’s failure
to notify Movant directly, violated fundamental principles of due process. The Fifth Circuit in Gilbert v.
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Serv. Lloyds Ins. Co., 273 F.3d 396, 400 (5th Cir. 2001), emphasized: “When a party’s ability to participate
is impaired by notice deficiencies or counsel misconduct, due process is violated.” \d.

C. ENFORCEMENT OF THE AWARD IS INEQUITABLE
1. Impossibility of Performance:

21. The COVID-19 delays and FINRA restrictions rendered performance under the loan
agreement impossible. Performance impossibility is a recognized defense, as noted in Harris v. Parker
Coll. of Chiropractic, 286 F.3d 790, 793 (Sth Cir. 2002): “Arbitrators exceed their authority when they fail
to consider valid defenses raised by the parties, such as impossibility of performance.” \d.

2. Unjust Enrichmen:

22. LPL Financial unjustly benefited by enforcing repayment without addressing the
impossibility of performance. The Supreme Court in Peacock v. Thomas, 516 U.S. 349, 355 (1996),
stressed: “Courts and arbitrators must avoid outcomes that lead to unjust enrichment, which violates
equity.” Id.

Vi. CONCLUSION

23. In conclusion, the arbitration award issued on November 13, 2024, in FINRA Case No. 23-
02354, is fundamentally flawed and must be vacated for multiple reasons grounded in law, equity, and
procedural fairness.

24, First, the arbitration panel lacked jurisdiction to adjudicate this dispute because no valid
arbitration agreement existed. The absence of a signed FINRA Submission Agreement or any evidence of
Movant’s consent to arbitration directly contravenes the principles established in First Options of
Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995) and Granite Rock Co. v. Int’| Bhd. of Teamsters, 561 U.S.
287, 299 (2010), which mandate that arbitration cannot proceed without mutual agreement. Allowing this
award to stand would undermine the fundamental requirement of consent that forms the cornerstone of
the Federal Arbitration Act.

25: Second, procedural irregularities denied Movant his right to due process. Movant’s
counsel abandoned the arbitration process at its inception, leaving Movant without representation or
notice of the proceedings. Neither Respondent nor the FINRA arbitration panel made reasonable efforts
to notify Movant directly, depriving him of the opportunity to present a defense or participate in any
meaningful way. As held in Tempo Shain Corp. v. Bertek, Inc., 120 F.3d 16, 20 (2d Cir. 1997) and Gilbert
v. Serv. Lloyds Ins. Co., 273 F.3d 396, 400 (5th Cir. 2001), such procedural deficiencies constitute
misconduct warranting vacatur under 9 U.S.C. § 10(a)(3).

26. Third, the arbitration panel exceeded its authority by failing to consider critical equitable
defenses, including impossibility of performance and unjust enrichment. Delays caused by the COVID-19
pandemic and Movant’s subsequent FINRA bar rendered performance under the promissory note’s terms
impossible. The panel’s disregard for these defenses violates the principles articulated in Harris v. Parker
Coll. of Chiropractic, 286 F.3d 790, 793 (5th Cir. 2002) and Peacock v. Thomas, 516 U.S. 349, 355 (1996),
which require arbitrators to act within the scope of the agreement and ensure outcomes consistent with
equity and fairness.

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2/. Finally, enforcing this arbitration award would result in profound injustice. Movant was
deprived of procedural safeguards and subjected to an arbitration process that proceeded without his
knowledge, consent, or opportunity to defend himself. Upholding such an award would contravene the
principles of fairness and justice that courts are obligated to protect.

28. For these reasons, Movant respectfully requests that this Court vacate the arbitration
award in its entirety, or, alternatively, remand the matter for reconsideration with instructions to address
the procedural deficiencies and equitable defenses raised herein. Such relief is necessary to correct the
procedural and substantive errors that have deprived Movant of his rights under the law.

WHEREFORE, the Movant Mario E. Rivero, Jr., pro se, hereby respectfully requests that this
Honorable Court grant the following reliefs: (1) Vacate the arbitration award issued on November 13,
2024, in FINRA Case No. 23-02354, pursuant to 9 U.S.C. § 10; (2) Alternatively, remand the matter to FINRA
arbitration with instructions to address procedural deficiencies and equitable defenses; and (3) Grant such
other relief as the Court deems just and proper. This motion is filed pursuant to 28 U.S.C. § 1746 and 18
U.S.C. § 1621. Signed today 4" day of December, 2024, in Coleman, Florida.

Respectfully Submitted,

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Mario E. Rivero, Jr., Pro Se
Movant

Reg. No. 90914-509

Federal Correctional Complex
Coleman Camp

P.O. Box 1031

Coleman, Florida 33131

CERTIFICATE OF SERVICE

| HEREBY CERTIFY under penalty that on the day 4" of December, 2024, | placed a true and correct
copy of the foregoing document in the prison mailing system pursuant to the prison mailbox rule to be
sent via US Mail to the United States District Court for the Middle District of Florida, Ocala Division,
Attention: Office of the Clerk, 207 Northwest Second Street, Ocala, Florida 34475.

Respectfully Submitted,

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Mario E. Rivero, Jr., Pro Se

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Movant

Reg. No. 90914-509

Federal Correctional Complex
Coleman Camp

P.O. Box 1031

Coleman, Florida 33131
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EXHIBIT #1
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= LPL Financial 1056 LPL Way

Fort Mill, SC 29715

(704) 733-3300

May 12", 2021
MARIO RIVERO (JR)
19 BROAD ST
RED BANK, NJ 07701

Via Fed Ex Overnight Delivery

Re: Termination of Registration(s)
Mr. Rivero Jr,

The purpose of this letter is to notify you that LPL Financial (“LPL” or “the Firm”) has terminated your
registration(s) with the Firm, for cause. Your termination was effective at the close of business 5/12/2021.
You must immediately cease and desist from holding yourself out to the public as an LPL representative.
All business cards and stationery mentioning your association with LPL should be immediately destroyed
and any advertisements cancelled.

Your Form US will reflect the circumstances under which you were discharged from LPL and a copy will
be mailed to your home address. Please note that your email received at LPL will not be forwarded to you
after termination.

All open client orders will be cancelled on your date of termination. If your clients need to process a
transaction, please refer them to the LPL Client Services Line at 1-800-877-7210, extension 6610.

In the event you have outstanding loans or accounts receivable balances with LPL, they have accelerated
by your separation from LPL and are now due in full. Finance will provide you with information
regarding any outstanding balance, including any loan amounts owed and accounts receivable amounts
accrued, absent accounts receivable incurred but not yet recorded for business prior to your termination
date. Pursuant to your agreement(s) with LPL, interest may continue to accrue until the balance is paid.

Please make arrangements for payment of the amount due with Finance at
LPLFinancialAdvisorReceivables@Ipl.com. Should you decide not to contact Finance to make arrangements,
you may be in breach of the loan agreement and/or your representative agreement and LPL refers such
matters to attorneys for full recoupment. You are on notice that such efforts, if LPL must take them, will
result in your liability not only for the amount due but also for all attorneys’ fees and costs LPL incurs
while collecting, and interest on such loans and debts. We ask that you kindly reach out to Finance today
to avoid these issues.

Your commission statement will continue for sixty (60) days from your termination date and will reflect
business prior to your termination date, including any additional accounts receivable incurred. Therefore,
the notice of amounts owed does not waive LPL’s right to collect additional accounts receivable accrued
as your balance is finalized. Finance can work with you to help you understand any additional amounts
owed.

You may wish to take client account records with you as you depart LPL. You may only do so in

accordance with LPL’s Branch Office Security Policy and related policies and procedures, including the
Consumer Privacy Notice’s provisions concerning opt-ins and opt-outs. Below is a list of all clients who

Member FINRA/SIPC
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= LPL Financial 4055 LPL Way

Fort Mill, SC 29715
(704) 733-3300

have elected to “opt out” of the transfer of client information to you and your new firm. Note that all
clients who reside in California, North Dakota or Vermont, are automatically opted out unless they “opt
in” to sharing their information. All books and records for “opt out” clients and CA, ND and VT clients
(except for those that opt-in) should be sent back to LPL, and no copies should be kept. In addition, you
must delete any electronic data for these clients on any systems that you maintain.

The only information that you may take for these “opt out” clients is information permitted by the terms
of the Protocol for Broker Recruiting, which presently includes: name, address, phone number, email
address and account title.

Information beyond that may only be taken to another broker-dealer/RIA for the purposes of that broker-
dealer/RIA marketing to that customer upon the affirmative consent and request of the customer. You
should refer to the Advisor Compliance Manual section titled “Privacy-Related Obligations at Separation
from LPL” for further information.

Clients who have opted out:

[None]

All CA, ND & VT Clients are opted out, except the following:

[None]

Client account records include, but are not limited to, the following: direct business account
applications, direct business account statements, customer correspondence, request to switch
investment forms, prospectus receipts, delivery receipts, internal hand-written or computer
generated notes, security and check receipts, confirmation of customer identification and proof of
delivery of LPL’s privacy policy to customers. Please send your books and records to your OSJ’s office
within 10 business days of termination. If you prefer to upload your books and records using iDoc, or
currently use iDoc, please notify the Centralized Supervision Unit by sending an email to
booksandrecords@lpl.com when all books and records have been uploaded.

Regards,

Compliance, Legal & Risk

Member FINRA/SIPC
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PROMISSORY NOTE

LPL Financial LLC
San Diego, California

Principal Loan Amount:
$161,598

Date of Execution: October 1, 2020

FOR VALUE RECEIVED, the undersigned Mario Rivero, Jr. (“Borrower”) of 10 Broad St. Suite 202, Red Bank, NJ,
07701, promises to pay to the order of LPL Financial LLC (“LPL”) at its office at 4707 Executive Drive, San
Diego, CA 92121, or at such other place as LPL may designate, in lawful money of the United States of America

and in immediately available funds, the principal loan amount of One Hundred Sixty One Thousand, Five Hundred
Ninety Eight Dollars $161,598 (“Principal”), or so much thereof as may be outstanding with interest thereon,
whether before or after any breach hereof.

1.

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Maturity Date. Subject to the obligation of LPL to forgive the principal and interest on this Note in
accordance with provisions below, Borrower will be required to repay the Principal on this Note no later
than October 01, 2025 (the “Maturity Date”) or upon an Event of Default (as defined below), whichever
occurs first.

Principal and Interest. The Principal balance shall bear interest at the minimum federal rate per annum
published by the Internal Revenue Service (“IRS”) (computed on the basis of a 360-day year, actual days
elapsed) as of the date the proceeds of the loan is paid to Borrower by LPL (“Disbursement Date”).
Interest shall begin accruing on the Disbursement Date. If any Event of Default or any event, act or
condition that with notice or lapse of time, or both, would constitute an Event of Default occurs and is
continuing, interest shall accrue at the minimum federal rate per annum published by the IRS that would
otherwise be applicable plus a rate no greater than 8%, such rate shall be determined in LPL’s sole
discretion. All such interest shall be payable upon demand.

Forgiveness of Principal and Interest. LPL shall forgive the Principal plus calculated accrued interest
on this Note in accordance with the terms set forth on Exhibit A hereto. The forgiveness of Principal and
interest under this Note will cease upon the occurrence of an Event of Default.

Income Taxes. Borrower hereby acknowledges responsibility for the payment of income taxes in
connection with the forgiveness of principal and interest under this Note.

Purpose and Use of Funds. The purpose of this loan is to be used for the Borrower’s transition needs in
connection with Borrower’s association with LPL (for example, to offset ACAT fees, technology set-up
fees, marketing and mailing costs, stationery and licensure transfer fees).

Application of Payments. All payments shall be applied in the following order: (a) to any costs and
expenses owed to LPL hereunder, including any collection costs and expenses owed to LPL hereunder; (b)
to the current interest accrued on this Note; (c) to the outstanding interest which has accrued on the balance
of the Note; and (d) to the outstanding Principal balance of the Note. If any payment is not accompanied

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with specific instructions as to application, and Borrower has any obligation to LPL other than this Note,

LPL may apply the payment to such obligation as LPL may elect in its sole discretion.

Prepayment of Principal. Borrower may from time to time partially or wholly repay the outstanding
borrowings without penalty. Prepayments will be applied to the Principal amount of the Term Note and
either (a) applied to the Principal and the term will remain the same, which will generate a new monthly
payment schedule, or (b) decrease the term of the Term Note and LPL will generate a new monthly payment
schedule based on the prepayment amount and on the shortened term (note, Borrower must request the
shortened term). Borrower may designate how the prepayment shall be applied, however, if instructions do
not accompany the payment then LPL will apply the prepayment in its sole discretion.

Lien, Borrower agrees and hereby grants to LPL a security interest in all non-qualified brokerage and
investment advisory accounts, whether now owned or hereafter acquired, maintained at LPL in which
Borrower has any ownership or beneficial interest in (collectively, the “Accounts”) and further, Borrower
shall transfer to LPL any and all securities or investment advisory accounts Borrower maintains at other
securities or investment advisory firms within thirty (30) days of execution of this Note. Upon the
occurrence of an Event of Default, Borrower and LPL agree that LPL, in its capacity as securities
intermediary of the Accounts shall comply with entitlement orders originated by LPL, in its capacity as
holder of this Note, without the further consent by Borrower, including, without limitation, orders to freeze
and/or sell any securities or other assets held in such Accounts in order to satisfy all costs, expenses and
amounts of principal and interest owed to LPL.

Events of Default. The occurrence of any of the following shall constitute an “Event of Default” under this
Note:

a. the failure to make any payment of Principal or interest or other amount when due under this Note
or a material default on any other obligation Borrower has with LPL;

b. the death, incapacity, dissolution, termination of existence, merger, consolidation, insolvency,
business failure, appointment of a receiver of any part of the property of, assignment for the benefit
of creditors, or the commencement of any proceeding under bankruptcy or insolvency laws by or
against Borrower or any guarantor or surety of Borrower or Borrower is generally not paying his
debts as they become due or any attachment or levy on any property of Borrower or against
Borrower or any guarantor;

c. the notice of termination or the voluntary or involuntary termination of the Registered
Representative Agreement that Borrower has executed with LPL;

d. any default in the payment or performance of any obligation, or any defined event of default, under
any provisions of any contract or instrument pursuant to which Borrower has incurred any
obligation for borrowed money, any purchase obligation, or any other liability of any kind to any
person or entity, including LPL;

é. Borrower becomes a supervised person (as defined by the Investment Advisers Act of 1940) of
any registered investment adviser, other than LPL, provided that, as of the Date of Execution,

Borrower was a supervised person of LPL;

f. any warranty, representation or statement made or furnished to LPL by or on behalf of Borrower,
including but not limited to any financial statement or legal document proves false or misleading;

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g. any sale or transfer of all or a substantial or material part of the assets of Borrower or assignment of
Borrower’s commissions and fees without prior express written consent of LPL;

h. any violation or breach of any other provision of this Note, or any defined event of default under,
letter agreement, guaranty, security agreement, deed of trust or other contract or instrument
executed in connection with this Note or securing this Note;

i. a failure to abide by any of the terms and conditions contained in any agreement Borrower has with
LPL or material failure to follow LPL policies and procedures; or

j. LPL has a good faith belief that the prospect of timely repayment is impaired based on LPL’s
commercially reasonable assessment that Borrower’s prospects of repayment are materially
diminished.

Upon the occurrence of any Event of Default, LPL, at its option, may declare all sums of Principal and
interest outstanding and any other amount payable hereunder to be immediately due and payable without
presentment, demand, protest or notice of any kind, all of which are expressly waived by Borrower;
provided that if an Event of Default specified in clause (b) shall occur, all Principal, interest and other
amounts payable hereunder shall automatically become due and payable without presentment, demand, or
protest or notice of any kind, all of which are expressly waived by Borrower.

Special Covenants. Borrower represents, warrants and covenants as follows (collectively, “Special
Covenants”):

a. In no more than sixty (60) days from the Disbursement Date, Borrower shall have fully
established and executed a succession plan through, and to the satisfaction of LPL.

Cost_of Enforcement. The Borrower shall pay to LPL the full amount of all costs and expenses,
including reasonable attorney’s fees (to include outside counsel fees and all allocated costs of LPL’s in-
house counsel), incurred by LPL in connection with the enforcement of its rights and/or the collection of
any amount which becomes due to LPL under this Note or the prosecution and defense of any action in
any way related to this Note, including without limitation any action for declaratory relief.

Right to Offset. Borrower acknowledges and agrees that in order to contribute to the satisfaction of the
repayment obligation hereunder, LPL is authorized to make the necessary deductions from Borrower’s
interest or entitlement in any commissions, overrides, bonus payments, reimbursements, or fees payable
by LPL to Borrower, or in any other amounts owed by LPL to Borrower or its affiliated companies, or in
any other amounts owed by LPL to Borrower or its affiliated companies. Borrower also agrees that LPL
has and shall have the right to apply any funds held in Borrower’s accounts at LPL in which LPL is
legally entitled to satisfy any amount remaining outstanding pursuant to the terms of this Note.

Binding on Heirs and Assigns. This Note inures to and binds the heirs, legal representatives, successors
and assigns of Borrower and LPL; provided, however, that Borrower may not assign this Note or any
proceeds of it or assign or delegate any of its rights or obligations, without LPL’s prior written consent in
each instance. LPL in its sole discretion may transfer this Note and may sell or assign its interest in this
Note by giving written notice to Borrower.

Confidentiality. The terms and existence of this Note are confidential and shall not be disclosed by
Borrower to any third party without the prior written consent of LPL, unless otherwise required by

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applicable laws and regulations (in which case Borrower agrees to inform LPL prior to such disclosure to
the extent lawfully permitted to do so). Borrower’s obligations of confidentiality shall survive satisfaction
or termination of this Note.

Investment Adviser Disclosure. If Borrower provides advisory services through an independent
investment advisor firm, Borrower acknowledges that it is Borrower’s responsibility to determine,
including through consultation with counsel, whether the terms of this Note present a conflict of interest
that is required or appropriate to disclose to the clients of the investment advisor firm (e.g., through Form
ADV). Borrower acknowledges and agrees that LPL may share this Note with Borrower’s independent
investment advisor firm chief compliance officer for purposes of assessing disclosure requirements.

Borrower represents to LPL that it shall make any such disclosures relating to the terms and conditions of
this Note as are required in accordance with Borrower’s fiduciary duty under the Investment Advisers Act
of 1940 and the rules and regulations thereunder and all other applicable law,

Independent Contractor Relationship. This Note shall not constitute a contract of employment. The
Borrower’s relationship with LPL is that of an independent contractor on an “at-will” basis which means
that either party may terminate its association with the other at any time for any reason or no reason.
Nothing herein shall be construed as a contract for employment or contract of association for any specified period of
time.

Arbitration. Any controversy or claim arising out of or relating to this Note or any other loan document or
the breach thereof, shall be submitted to arbitration before the Financial Industry Regulatory Authority, and
judgment on the award rendered by the arbitrator(s) may be entered in any court having jurisdiction thereof.
Arbitration shall be the exclusive remedy for the settlement of disputes arising from or relating to this Note.
The decision of the arbitrator shall be final, conclusive and binding on all interested persons and no action at
law or inequity shall be instituted other than to enforce the award of the arbitrator. The place of arbitration
shall be San Diego, California. This Note shall be construed in accordance with the laws of the State of
California, without regard to its conflict of laws rules. Except as may be required by law, neither a party nor
an arbitrator may disclose the existence, content, or results of any arbitration hereunder without the prior
written consent of LPL and Borrower.

Usury Savings Clause. Notwithstanding anything to the contrary contained herein, the interest paid or
agreed to be paid under this Note shall not exceed the maximum rate of non-usurious interest permitted
by applicable law or, to the extent allowed by law, under such applicable laws which may hereafter be in
effect and which allow a higher maximum non-usurious interest rate than applicable Laws now allow (the
“Maximum Rate”), If LPL shall receive interest in an amount that exceeds the Maximum Rate, the
excess interest shall be applied to the Principal of this Note or, if it exceeds such unpaid Principal,
refunded to Borrower. In determining whether the interest contracted for, charged, or received by LPL
exceeds the Maximum Rate, such Person may, to the extent permitted by applicable law, (a) characterize
any payment that is not Principal as an expense, fee, or premium rather than interest, (b) exclude
voluntary prepayments and the effects thereof, and (c) amortize, prorate, allocate, and spread in equal or
unequal parts the total amount of interest throughout the contemplated term of the obligations hereunder.

Modification. This Note is the complete and exclusive statement of the agreement between LPL and
Borrower and supersedes all prior written and oral communications and agreements relating to the subject
matter hereof. No modification, termination, extension, renewal or waiver of any provision of this Note
shall be effective unless agreed upon in writing and signed by an authorized representative of LPL and
Borrower.

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Page 4 of 6

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20. Severability. The provisions of this Note shall be deemed severable and the invalidity or

21.

22.

52853-1

unenforceability of any provision shall not affect the validity or enforceability of the other provisions of
this Note. If any provision of this Note is invalid or unenforceable, a suitable and equitable provision
negotiated in good faith by the parties hereto shall be substituted therefor in order to carry out the intent
and purpose of such invalid or unenforceable provision.

Section Headings. The section headings are inserted in this Note for convenience of reference only and
shall not affect the meaning or interpretation of this Note.

Counterparts. This Note may be signed in one or more counterparts, each of which shall be an original,
with the same effect as if the signatures were upon the same document. A copy of this Note executed by a
party hereto that is provided to the other party via facsimile or other electronic means shall have the same
effect as the original executed copy of this Note.

LPL FINANCIAL LLC BORROWER

DocuSigned by:

DocuSigned by:
BY: Reel Eaten Borrower: Mano Kiger) NM

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NAME/TITLE: Reed Base ley Mario Rivero, Jr.

SVP Advisor Capital

DS

Rep Initial: MK)

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LPL apa TRE

Page 5 of 6
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Exhibit A

Forgiveness of Note Terms
Notwithstanding any other provisions of this Note to the contrary, the terms of this Exhibit A
shall take priority.
For purposes of this Exhibit A, the following terms shall have the following meanings:
“Borrower” shall mean the individual listed as Borrower in the first paragraph of this Note.
“Anniversary Date” shall mean the month and day of the Date of Issuance of this Note. For
example, Year | shall consist of the first full twelve months from the date of issuance of this Note
and the subsequent years shall be the immediately succeeding twelve month periods each

“Anniversary Date”. The Anniversary Date at Year 5 shall be synonymous with Maturity Date.

“Forgiveness Amount” shall mean 1/S5th of Principal plus interest forgiven on each Anniversary

Date of the Note.
Year 1 Year 2 Year 3 Year 4 Year 5
Forgiveness
Amount: $32,319.6 $32,319.6 $32,319.6 $32,319.6 $32,319.6
(1/5** of P&I) Plus Interest Plus Interest Plus Interest Plus Interest Plus Interest

As specified above, for each Anniversary Date that the Borrower is registered with LPL, the
corresponding amount of Principal and accrued interest shall be forgiven as set forth above. At
any time during the 5 years listed above for which the Borrower is not registered/licensed with
LPL, the remaining balance of the loan will be immediately due in full.

For example, if during Year 4 and before the Anniversary Date the Borrower’s registration with
LPL is terminated for any reason thereby triggering an Event of Default, then 40% of the
Principal plus interest will be immediately due in full. Principal and interest in Years 1 through 3
have previously been forgiven (60% of Principal plus interest).

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Page 6 of 6

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ACH Transfer Instructions

Please include the following information for all ACH transfers to your bank account:

Account Type: Checking * Savings
Bank Name: Bank Of America

Bank Address: 170 Broad st #1000, Red Bank, NJ 07701
Routing Ht: 021200339

Confirm Routing #: 021200339

Account #: 381052082766

Confirm Account #: 381052082766

Account Name: MARIO E RIVERO JR

By signing below, you represent that the foregoing information is true and accurate and you are
the proper party to receive funds to this account. You also agree to indemnify and hold harmless
LPL Financial and its employees and affiliates from and against any and all claims or liabilities
resulting from this information. LPL Financial takes no responsibility for funds if the above
information is not accurate.

Borrower: Mario Rivero, Jr.

DocuSigned by:

Sign: | Mano Kimero, Jr.

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Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 17 of 29 PagelD 55

DocuSign Envelope ID: 5823ADA1-786F-4E44-9139-E439BACCF4C7

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FINANCIAL INDUSTRY REGULATORY AUTHORITY (FINRA)

NOTICE TO EMPLOYER

Via Certified Mail, Return Receipt Requested (9314 8699 0430 0083 1606 88), First Class
Mail
TO: Matthew Applebaum, Sr. Vice President, Compliance

LPL Financial LLC

1055 LPL Way

Fort Mill, SC 29715
FROM: FINRA

Department of Enforcement
99 High Street, Suite 900
Boston MA 02110

DATE: — June 4, 2021

RE: Acceptance of Letter of Acceptance, Waiver, and Consent (“AWC”) for
Mario E. Rivero, Jr., Matter No. 2021071160701

FINRA has taken final disciplinary action against Mario E. Rivero, Jr., who, according to our
records, is associated with your firm. Attached is a copy of the final AWC, which sets forth
FINRA’s findings and the sanctions imposed, and the Notice of Acceptance sent to the
Respondent.

The bar is effective immediately.
This information is being given to you so that you may fulfill your supervisory and other

obligations under securities industry rules and regulations. If you have any questions concerning
this matter, please call me at (617) 532-3428.
JE Fauci

James J. Fauci NL
Director
Enclosure(s)
cc: Mario E. Rivero, Jr.
19 Broad Street

Red Bank, NJ 07701-1901

Gilberto Garcia
25 E. Spring Valley, Suite 330
Maywood, NJ 07603

Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 18 of 29 PagelD 56

=il LPL Financial 4707 Executive Dr.

San Diego, CA 92121-3091
858 450 9606 office

VIA Email
August 12, 2021

Mario Rivero — 235N

10 Broad St. Suite 202

Red Bank, NJ 07701
marioriverojr22@gmail.com

Re: Notice of Outstanding Balance of $192,053.80 Due to LPL Financial LLC
Dear Mr. Rivero,

Thank you for the opportunity to service your securities business while affiliated with LPL
Financial LLC (“LPL”). Your affiliation terminated on 05/12/2021 and constituted an “Event of
Default” under the agreement(s) that you entered with LPL. Asa result, LPL is entitled to declare
all sums, including accounts receivable, principal, interest, and any other amounts payable under
the agreement(s) immediately due and payable. By this letter, LPL hereby notifies you that LPL
has exercised its contractual right to accelerate payment under the agreement(s) and as of
08/12/2021 you have an outstanding balance due of $192,053.80.

Our records indicate that the following loan amount, calculated as of today with interest (which
continues to accrue) is due: $183,191.76. In addition, the following accounts receivable amount,
absent accounts receivable incurred but not yet recorded for business prior to your termination
date, is due: $8,862.04, including $5,176.24 in fees and $3,685.80 in past due loan fees. Please
see the attached detail for the balance owed. Pursuant to your agreement(s) with LPL, interest
may continue to accrue until the balance is paid.

Please promptly make arrangements for payment of the current total amount due with Finance at
LPL Financial AdvisorReceivables@Ipl.com or (800) 877-7210. Payments should be remitted by
certified check made payable to LPL Financial LLC (including your REP ID in the memo line)
to:

Regular Mail: Overnight:

LPL Financial LPL Financial

Attn: Client Compensation Attn: Client Compensation
P.O. Box 509026 4707 Executive Dr.

San Diego, CA 92150-9026 San Diego, CA 92121

You should know that if you decide not to remit payment, you will be in breach of your
agreement(s) with LPL, and LPL may refer such matters to attorneys for full recoupment. You
are on notice that such efforts, if LPL must take them, will result in your liability not only for the
amount due, but also for all attorneys’ fees and costs LPL incurs while collecting, interest on such
debts, and potentially other items depending on the agreement and law.
Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 19 of 29 PagelD 57

Your commission statement will continue for sixty (60) days from your affiliation termination date
and will reflect business prior to your affiliation termination date, including any additional
accounts receivable incurred but not yet reflected above. Therefore, this notice of amounts owed
does not waive LPL’s right to collect additional accounts receivable accrued as your balance is
finalized. Finance can work with you to help you understand any additional amounts owed. We
appreciate your attention to this matter and anticipated cooperation.

Sincerely,

Advisor Receivables
LPLFinancialAdvisorReceivables@lpl.com

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Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 20 of 29 PagelD 58

Award
FINRA Dispute Resolution Services

In the Matter of the Arbitration Between:

Claimant Case Number: 23-02354
LPL Financial LLC

VS.
Respondent Hearing Site: Jersey City, New Jersey

Mario Everildo Rivero, Jr.

Awards are rendered by independent arbitrators who are chosen by the parties to issue final,
binding decisions. FINRA makes available an arbitration forum—pursuant to rules approved by
the SEC—but has no part in deciding the award.

Nature of the Dispute: Member vs. Associated Person
The evidentiary hearing was conducted by videoconference.

REPRESENTATION OF PARTIES

For Claimant LPL Financial LLC (“Claimant”): Neil S. Baritz, Esq., and Andrew Thompson, Esq.,
Baritz & Colman LLP, Boca Raton, Florida.

Respondent Mario Everildo Rivero, Jr. (‘Respondent’) did not appear for the evidentiary
hearing. Previously represented by Gilberto M. Garcia, Esq., Maywood, New Jersey.

CASE INFORMATION

Statement of Claim filed on or about: August 28, 2023.
LPL Financial LLC signed the Submission Agreement: August 28, 2023.

Statement of Answer filed by Respondent on or about: May 16, 2024.
Mario Everildo Rivero, Jr. did not sign the Submission Agreement.

CASE SUMMARY

In the Statement of Claim, Claimant asserted the following causes of action: breach of
registered representative agreement; and breach of promissory notes.

Unless specifically admitted in the Statement of Answer, Respondent denied the allegations made
in the Statement of Claim and asserted various affirmative defenses.

Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 21 of 29 PagelD 59

FINRA Dispute Resolution Services
Arbitration No. 23-02354

Award Page 2 of 4

RELIEF REQUESTED

In the Statement of Claim, Claimant requested: the outstanding principal balance of $5,176.24,
due and owing under the Registered Representative Agreement; interest at a rate of 5.25% per
annum from September 10, 2021 until the date that Respondent satisfies the obligations to
Claimant; the outstanding principal balance of $161,598.00 due and owing under Promissory
Note 1; interest at a rate of 9.07% per annum from May 12, 2021 until the date that Respondent
satisfies the obligations to Claimant; the outstanding principal balance of $25,306.00 due and
owing under Promissory Note 2; interest at a rate of 11.25% per annum from May 12, 2021 until
the date that Respondent satisfies the obligations to Claimant; the costs of collection and of this
proceeding, including attorneys’ fees; and for other relief deemed just and equitable.

In the Statement of Answer, Respondent requested that Claimant's claims be denied.

OTHER ISSUES CONSIDERED AND DECIDED

The Arbitrators acknowledge that they have each read the pleadings and other materials filed by
the parties.

Respondent did not file a properly executed Submission Agreement but is required to submit to
arbitration pursuant to the Code of Arbitration Procedure (“Code”) and, having answered the
claim, is bound by the determination of the Panel on all issues submitted,

On May 21, 2024, Respondent filed a Motion to Dismiss pursuant to Rule 13504 of the Code.
On July 12, 2024, Claimant filed a response opposing the motion. On August 21, 2024, /
Respondent withdrew the motion, and the Panel accordingly issued an Order denying the
Motion to Dismiss with prejudice.

Respondent did not appear at the evidentiary hearing. Upon review of the file, the Panel
determined that Respondent received due notice of the hearing and that arbitration of the matter
would proceed without Respondent present, in accordance with the Code.

AWARD

After considering the pleadings, the testimony and evidence presented at the hearing, and any
post-hearing submissions, the Panel has decided in full and final resolution of the issues
submitted for determination as follows:

1. Respondent is liable for and shall pay to Claimant the sum of $254,944.21 in compensatory
damages, which includes accrued interest through November 7, 2024.

2. Respondent is liable for and shall pay to Claimant interest at the daily rate of $49.37 from
November 7, 2024, through and including date of payment of the award in full.

3. Respondent is liable for and shall pay to Claimant $1,000.00 to reimburse Claimant for the
non-refundable portion of the filing fee previously paid to FINRA Dispute Resolution Services.

Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 22 of 29 PagelD 60

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FINRA Dispute Resolution Services
Arbitration No. 23-02354

Award Page 3 of 4

4. Respondent is liable for and shall pay to Claimant the sum of $25,975.00 in attorneys’ fees
pursuant to terms of the parties’ contracts.

5. Any and all claims for relief not specifically addressed herein are denied.
FEES

Pursuant to the Code of Arbitration Procedure (“Code”), the following fees are assessed:

Filing Fees
FINRA Dispute Resolution Services assessed a filing fee* for each claim:

Initial Claim Filing Fee =$ 2,125.00
“The filing fee is made up of a non-refundable and a refundable portion.

Member Fees

Member fees are assessed to each member firm that is a party in these proceedings or to the
member firm that employed the associated person at the time of the event giving rise to the
dispute. Accordingly, as a party, LPL Financial LLC is assessed the following:

Member Surcharge =$ 1,700.00
Member Process Fee =$ 3,250.00

Hearing Session Fees and Assessments

The Panel has assessed hearing session fees for each session conducted. A session is any
meeting between the parties and the Arbitrators, including a pre-hearing conference with the
Arbitrators, which lasts four (4) hours or less. Fees associated with these proceedings are:

One (1) pre-hearing session with a single Arbitrator @ $450.00/session =$ 450.00
Pre-Hearing Conference: April 30, 2024 1 session
Three (3) pre-hearing sessions with the Panel @ $1,125.00/session =$ 3,375.00
Pre-Hearing Conferences: December 18, 2023 1 session

June 24, 2024 1 session

August 21, 2024 1 session
Two (2) hearing sessions @ $1,125.00/session =$ 2,250.00
Hearings: September 6, 2024 1 session

November 7, 2024 1 session
Total Hearing Session Fees =$ 6,075.00

The Panel has assessed the total hearing session fees to Respondent.

All balances are payable to FINRA Dispute Resolution Services and are due upon receipt.

Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 23 of 29 PagelD 61

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FINRA Dispute Resolution Services
Arbitration No. 23-02354

Award Page 4 of 4
ARBITRATION PANEL

Kenneth J. Horowitz - Public Arbitrator, Presiding Chairperson

Michael H DuBoff - Public Arbitrator
Julian Stapleford - Non-Public Arbitrator

|, the undersigned Arbitrator, do hereby affirm that | am the individual described herein and who
executed this instrument, which is my award.

Concurring Arbitrators' Signatures

Kenneth J. Horowitz 41/12/2024

Kenneth J. Horowitz Signature Date
Public Arbitrator, Presiding Chairperson

Michael H DuBoff 11/12/2024

Michael H DuBoff Signature Date
Public Arbitrator

Julian Stapleford 11/12/2024

Julian Stapleford Signature Date
Non-Public Arbitrator

Awards are rendered by independent arbitrators who are chosen by the parties to issue final,
binding decisions. FINRA makes available an arbitration forum—pursuant to rules approved by

the SEC—but has no part in deciding the award.

November 13, 2024
Date of Service (For FINRA Dispute Resolution Services use only)

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FINANCIAL INDUSTRY REGULATORY AUTHORITY
OFFICE OF DISPUTE RESOLUTION
CASE NO, 23-02354

In the Matter of the Arbitration Between

LPL FINANCIAL LLC,

ce Te

Claimant,

Vs.
MARIO E. RIVERO, JR.

Respondent.

AFFIDAVIT OF INDEBTEDNESS AND ATTORNEY’S FEES

Andrew Thomson, representative of Claimant LPL. FINANCIAL, LLC. hereby swears and
affirms:

I. My law firm, Baritz & Colman LLP, is counsel to LPL Financial. LLC. the
Claimant in this case. Lam above the legal age of majority and otherwise competent to make this
wlidavit. | make this affidavit based on my review of LPL Financial’s records relating to
Respondent Mario L:. Rivero, Jr, and my firm’s billings records.

2, Claimant previously submitted our firm’s billing records for time incurred on this
case. Through November 7, 2024. the total amount of fees our firm has incurred on this matter is
$25,975.00. The hourly rate forall professionals working on this case has been $250.00.

3h As for principal, Respondent owes the following:

$3.176.24 under the Representative Agreement:

S16O}.S98.00 under Note 1: and
7 §$?8.306.00 under Note 2.

Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 25 of 29 PagelD 63

Regarding interest on those obligations, through November 7. 2024. Respondent
owes the following
$871.12 under the Representative Agreement (with a daily rate of $0.75):

$51,909.99 under Note | (with a daily rate of $40.71): and
$10,082.86 under Note 2 (with a daily rate of $7.91).

These calculations through November 7, 2024, are outlined in the attached Exhibit A.

5. LPL Financial has also incurred the following costs: member process fee of

$3,250.00, initial filing fee (non-refundable) of $1,000.00, initial filing fee (refundable) of

$1,125.00, and a member surcharge fee of $1,700.00, for a total of $7,975.00 in costs.

6. Including all outstanding principal, interest, attorney’s fees, and costs, through

November 7, 2024, Respondent owes LPL Financial the total sum of $287,994.21.

BARITZ & COLMAN LLP

LPL Financial LLC

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Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 26 of 29 PagelD 64

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interest Due - Fees $871.12 :
Prime Rate (3.25%) + 256

Date of First Demand = 02/12/2021
Start Date (20 business days after 8/12/2021 (date of demand)} = 9/19/2021

EXHIBIT A

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Case 5:24-cv-00672-SPC-PRL Document1 Filed 12/11/24 Page 27 of 29 PagelD 65

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FING ed.

TO: Michael H DuBoff
Kenneth J. Horowitz
Julian Stapleford

cc: Neil S. Baritz, Esq.
Mario Everildo Rivero,, Jr.

From: Leonie A. Feliciano
Senior Case Administrator

Subject: FINRA Dispute Resolution Services Arbitration Number 23-02354
LPL Financial LLC vs. Mario E. Rivero, Jr.

Date: November 11, 2024

Attached are the post-hearing submissions that we have received in ihe above-referenced matter.

Thank you for your consideration and prompt attention to this matter. if you have any questions,

please do not hesitate to contact me at 212-858-3928 or by email at
Neprocessingcenter@finra.org.

LZH:lzh:LC62D
idr: 11/17/2021

RECIPIENTS:
Michael H DuBoff
Kenneth J. Horowitz
Julian Stapleford

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CC: ‘
Neil S. Baritz, Esq., Baritz & Colman LLP, 1075 Broken Sound Parkiway NW, Suite 102, Boca

Raton, FL 33487
On Behalf Of: LPL Financial LLC

Mario Everildo Rivero,, Jr., Federal Correctional Complex, Register Number: 90914-509,
Coleman Camp, P.O. Box 1031, Coleman, Fl. 33734
On Behalf Of: Mario Everildo Rivero, Jr.

Investor protection. Market integrity, FINRA Dispute ution Services
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